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                                UNITED STATES OF AMERICA
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,
                                                       Criminal Case No. 11-cr-20540
                        Plaintiff,
                                                       Honorable Gerald E. Rosen
 vs.

 D-13, HETAL BAROT,

                   Defendant.
 ______________________________/

                          PRELIMINARY ORDER OF FORFEITURE


          WHEREAS, a First Superseding Indictment was issued in the United States District

 Court for the Eastern District of Michigan on May 2, 2012, which charged Defendant HETAL

 BAROT in Count One with violating 18 U.S.C. § 1349, Conspiracy to Commit Health Care

 Fraud;

          WHEREAS, on June 26, 2012, Defendant HETAL BAROT entered into a Rule 11 Plea

 Agreement wherein he pled guilty to Count One of the First Superseding Indictment;

          WHEREAS, in the Rule 11 Plea Agreement Defendant HETAL BAROT agreed,

 pursuant to 18 U.S.C. § 982(a)(7), to the entry of a forfeiture money judgment in the amount of

 Thirteen Million Eight Hundred Eighty Eight Thousand Nine Hundred Thirty Nine Dollars

 ($13,888,939), which represents the total value of the property subject to forfeiture as a result of

 the offense described in Count One of the First Superseding Indictment, and that the United

 States agrees that defendant’s liability for the forfeiture money judgment shall be joint and

 several with all other defendants convicted of violating Count One of the First Superseding

 Indictment;
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        WHEREAS, the Defendant also stipulated in his Rule 11 Agreement that the money

 judgment may be satisfied, to whatever extent possible, from any property owned or under the

 control of Defendant HETAL BAROT. To satisfy the money judgment, any assets that

 Defendant has now, or may later acquire may be forfeited as substitute assets under 21 U.S.C. §

 853(p)(2), and defendant has waived and relinquished his rights to oppose the forfeiture of

 substitute assets under 21 U.S.C. § 853(p)(1) or otherwise.

        NOW, THEREFORE, based upon the Indictment, Defendant’s agreement to forfeiture,

 and other Information in the record:

        IT IS HEREBY ORDERED THAT a forfeiture money judgment in the amount of

 Thirteen Million Eight Hundred Eighty Eight Thousand Nine Hundred Thirty Nine Dollars

 ($13,888,939) is granted and entered against the Defendant, in favor of the United States of

 America, and that Defendant HETAL BAROT shall be jointly and severally liable for the full

 amount of the forfeiture money judgment with all other defendants convicted of violating Count

 One of the First Superseding Indictment;

        IT IS FURTHER ORDERED that pursuant to Fed.R.Crim.P. 32.2(b)(4)(A) and (b)(4)(B)

 that this Preliminary Order of Forfeiture shall become final upon entry, be made part of

 Defendant’s sentence and included in the judgment, and shall not be the subject of ancillary

 proceedings given that the forfeiture consists entirely of a money judgment;

        IT IS FURTHER ORDERED that any unpaid balance of the money judgment may be

 satisfied through the forfeiture of any property of Defendant as substitute property by operation

 of 21 U.S.C. § 853(p)(1) and (p)(2); and

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        IT IS FURTHER ORDERED that the Court shall retain jurisdiction to enforce this Order

 and to amend it as necessary pursuant to Fed.R.Crim.P. 32.2(e).

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        IT IS HEREBY ORDERED



                                             S/Gerald E. Rosen
                                             HONORABLE GERALD E. ROSEN
 Dated: December 11, 2012                    United States District Chief Judge




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